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          EXHIBIT C
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                                                    Morgan & Morgan, P.A.
                                             Cost Summary Report with Details
                        (8994250) Bediako, Damani and Miller, Kia vs. P & G Auditors and Consultants, LL
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8994250 - Bediako,
          Bediako, Damani and Miller,
                              Miller, Kia vs.
                                          vs. P & G Auditors and Consultants,
                                                                 Consultants, LL
 CLP           Color Printing
        Date                 Reference    Payee                               Comment                            Amount
        03/19/2019                                                            Color Printing                     $0.50
        03/19/2019                                                            Color Printing                      0.50
        11/25/2019                                                            Color Printing                      1.00
                                                                                          Color Printing         $2.00
 CRTFEE Court Fees
        Date                 Reference    Payee                               Comment                            Amount
        06/05/2019           835468       Florida Supreme Court               ASAP                                 7.00
                                                                                               Court Fees        $7.00
 ECF           Electronic Filing Fees
        Date                 Reference    Payee                               Comment                            Amount
        06/06/2019           ACH 06.06.19 C. Ryan Morgan                                                        200.00
                                                                                Electronic Filing Fees        $200.00
 FEDEX         Fed Ex
        Date                 Reference    Payee                               Comment                            Amount
        06/05/2019                                                            ORL                                15.87
        07/30/2019                                                            FTL                                13.93
                                                                                                  Fed Ex       $29.80
 FIL           Filing fees
        Date                 Reference    Payee                               Comment                            Amount
        03/28/2019           ACH 03.28.19 Andrew Frisch                                                         400.00
        05/16/2019           ACH 05.16.19 C. Ryan Morgan                                                         15.00
                                                                                               Filing fees    $415.00
 MED           Mediation
        Date                 Reference    Payee                               Comment                            Amount
        07/02/2019           838306       Ralph S. Berger                     ASAP                             3,500.00
                                                                                                Mediation    $3,500.00
 PFS           Professional Service
        Date                 Reference    Payee                               Comment                            Amount
        03/07/2019           ACH 03.07.19 Andrew Frisch                                                            6.25
                                                                                 Professional Service            $6.25
 PRN           Black & White Printing
        Date                 Reference    Payee                               Comment                            Amount
        02/12/2019                                                            Black & White Printing               1.50
        02/12/2019                                                            Black & White Printing               1.75
        02/19/2019                                                            Black & White Printing               1.50
        03/15/2019                                                            Black & White Printing               3.75
        03/19/2019                                                            Black & White Printing               3.75
        03/19/2019                                                            Black & White Printing               3.75
        06/11/2019                                                            Black & White Printing               1.25
        07/09/2019                                                            Black & White Printing               1.25
        07/09/2019                                                            Black & White Printing               1.25
        07/09/2019                                                            Black & White Printing               1.50
        07/09/2019                                                            Black & White Printing               1.25
        07/09/2019                                                            Black & White Printing               3.50
        10/07/2019                                                            Black & White Printing               1.25
        10/28/2019                                                            Black & White Printing               4.25
        11/13/2019                                                            Black & White Printing               1.25
        11/14/2019                                                            Black & White Printing               1.25
        11/14/2019                                                            Black & White Printing               1.25
                        Case 1:19-cv-02527-SDA Document 63-4 Filed 08/28/20 Page 3 of 3
                                                   Morgan & Morgan, P.A.
                                            Cost Summary Report with Details
                       (8994250) Bediako, Damani and Miller, Kia vs. P & G Auditors and Consultants, LL
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        11/25/2019                                                         Black & White Printing             $1.25
        11/25/2019                                                         Black & White Printing              1.75
        11/25/2019                                                         Black & White Printing              5.75
        11/25/2019                                                         Black & White Printing              1.75
        12/10/2019                                                         Black & White Printing              1.75
        12/10/2019                                                         Black & White Printing              5.75
        12/10/2019                                                         Black & White Printing              1.75
        08/26/2020                                                         Black & White Printing              3.75
        08/26/2020                                                         Black & White Printing              2.75
                                                                            Black & White Printing           $61.50
 PSVC          Process Service
        Date             Reference    Payee                                Comment                            Amount
        04/02/2019       828777       TSI Legal                                                              100.00
        05/14/2019       833150       TSI Legal                                                              100.00
        05/14/2019       833151       TSI Legal                                                              100.00
                                                                                    Process Service         $300.00
 TVL           Travel Expenses
        Date             Reference    Payee                                Comment                            Amount
        02/28/2019       ACH 02.28.19 Andrew Frisch                                                           57.29
        07/25/2019       ACH 07.25.19 Andrew Frisch                                                          670.78
        08/22/2019       ACH 08.22.19 Andrew Frisch                                                          132.78
                                                                                   Travel Expenses          $860.85

                                                                                               Total:
                                                                                               Total:     $5,382.40


 Payables

        Invoice_Date     Invoice #     Payee                               Comment                            Amount



                                                                                    Total Payables:
                                                                                          Payables:
                                                                                   GRAND TOTAL:
                                                                                         TOTAL:           $5,382.40
